

Matter of Nevaeh L. (Katherine L.) (2019 NY Slip Op 08327)





Matter of Nevaeh L. (Katherine L.)


2019 NY Slip Op 08327


Decided on November 15, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 15, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., LINDLEY, NEMOYER, CURRAN, AND WINSLOW, JJ.


1106 CAF 18-00730

[*1]IN THE MATTER OF NEVAEH L. AND NICKOLAS B. NIAGARA COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; KATHERINE L., RESPONDENT-APPELLANT. (APPEAL NO. 2.)






DAVID J. FARRUGIA, PUBLIC DEFENDER, LOCKPORT (CONNIE LOZINSKY OF COUNSEL), FOR RESPONDENT-APPELLANT. 
MATTHEW E. BROOKS, LOCKPORT, FOR PETITIONER-RESPONDENT.
LAURA A. MISKELL, LOCKPORT, ATTORNEY FOR THE CHILDREN.


	Appeal from an order of the Family Court, Niagara County (Erin P. DeLabio, J.), entered February 26, 2018 in a proceeding pursuant to Family Court Act article 10. The order, among other things, adjudged that the permanency goal with respect to the subject children is adoption. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Nevaeh L. ([appeal No. 4] — AD3d — [Nov. 15, 2019] [4th Dept 2019]).
Entered: November 15, 2019
Mark W. Bennett
Clerk of the Court








